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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORDIA
                                  MIAMI DIVISION

                                              ) CASE NO. 14-34103
In re:                                        ) JUDGE Laurel M Isicoff
                                              )
Rayda Conde                                   )
                                              )
         Debtor.                              )
                                              )
                                              )
                                              )
                                              )


         DEUTSCHE BANK NATIONAL TRUST COMPANY’S NOTICE OF DEBTOR’S
         REQUEST FOR FORBEARANCE DUE TO THE COVID-19 PANDEMIC


         Now comes Creditor DEUTSCHE BANK NATIONAL TRUST COMPANY as Trustee

for INDYMAC INDX MORTGAGE LOAN TRUST 2007-FLX6, MORTGAGE PASS-

THROUGH CERTIFICATES Series 2007-FLX6 (“Creditor”), by and through undersigned

counsel, and hereby submits Notice to the Court of the Debtor’s request for mortgage payment

forbearance based upon a material financial hardship caused by the COVID-19 pandemic.

         The Debtor recently contacted Creditor requesting a forbearance period of 3 months and

has elected to not tender mortgage payments to Creditor that would come due on the mortgage

starting 04/27/2020 through 07/26/2020. Creditor holds a secured interest in real property

commonly known as 14606 NW 88 Ct, Miami Lakes, FL 33018, as evidenced by claim number

5 on the Court’s claim register. Creditor, at this time, does not waive any rights to collect the

payments that come due during the forbearance period. If the Debtor desires to modify the length

of the forbearance period or make arrangements to care for the forbearance period arrears,

Creditor asks that the Debtor or Counsel for the Debtor make those requests through undersigned

counsel.
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       Per the request, Debtor will resume Mortgage payments beginning 08/26/2020 and will

be required to cure the delinquency created by the forbearance period (hereinafter “forbearance

arrears”). Creditor has retained undersigned counsel to seek an agreement with Debtor regarding

the cure of the forbearance arrears and submit that agreement to the Court for approval. If Debtor

fails to make arrangements to fully cure the forbearance arrears, Creditor reserves it rights to

seek relief from the automatic stay upon expiration of the forbearance period.




                                             Robertson, Anschutz, & Schneid, P.L.
                                             Authorized Agent for Secured Creditor
                                             6409 Congress Avenue, Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: (470) 321-7112

                                             By: /s/Keith Labell
                                             Keith Labell, Esquire
                                             Email: klabell@rasflaw.com




                                    CERTIFICATE OF SERVICE
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       I certify that a true and accurate copy of the foregoing Notice of Debtor’s Request for

Forbearance was served upon the following parties in the following fashion on this 15th day of

May 2020:

Rayda Conde
14606 NW 88 Ct
Miami Lakes, FL 33018

And via electronic mail to:

Robert Sanchez, Esq.
355 W 49 St.
Hialeah, FL 33012

Nancy K. Neidich
POB 279806
Miramar, FL 33027

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130

                                           Robertson, Anschutz, & Schneid, P.L.
                                           Authorized Agent for Secured Creditor
                                           6409 Congress Avenue, Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: (470) 321-7112

                                           By: /s/Keith Labell
                                           Keith Labell, Esquire
                                           Email: klabell@rasflaw.com
